        Case 1:18-cv-11826-NMG Document 119 Filed 10/23/19 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


STEVEN SANDOE, individually and on
behalf of all others similarly situated,

                       Plaintiff,
                                                          Case No. 1:18-cv-11826-NMG
v.

BOSTON SCIENTIFIC CORPORATION,

                       Defendant.



              THE PARTIES’ SUPPLEMENTAL JOINT STATUS REPORT
                           REGARDING MEDIATION

       On December 4, 2018, the Court ordered the parties to file a Joint Status Report

Regarding Mediation by August 15, 2019.

       On August 15, 2019, the parties filed a Joint Status Report Regarding Mediation

indicating that the parties were scheduled for a full-day mediation with the Honorable James

Holderman (Ret.), of JAMS, on October 23, 2019, in Chicago.

       Plaintiff’s Motion for Class Certification was heard on October 17, 2019.

       In preparation for the mediation, Boston Scientific concluded it would be unproductive

for the parties to mediate at this time, as Plaintiff indicated that it would be unproductive to

participate in a full-day mediation with Judge Holderman if Boston Scientific was not willing to

discuss a class-wide settlement and Boston Scientific is unwilling to settle on a class-wide basis

prior to the Court’s decision on Plaintiff’s Class Certification Motion. Accordingly, Boston

Scientific notified both Plaintiff and Judge Holderman, and the October 23, 2019 mediation was

cancelled.




                                                1
        Case 1:18-cv-11826-NMG Document 119 Filed 10/23/19 Page 2 of 3



       The parties will discuss whether and when to reschedule mediation after the Court

decides Plaintiff’s Class Certification Motion.

Dated: October 23, 2019                      Respectfully submitted and agreed to by:

                                             BOSTON SCIENTIFIC CORPORATION

                                             By its attorneys,

                                             /s/ Troy K. Lieberman
                                             Daniel Deane (BBO # 568694)
                                             ddeane@nixonpeabody.com
                                             Troy K. Lieberman (BBO # 681755)
                                             tlieberman@nixonpeabody.com
                                             NIXON PEABODY LLP
                                             Exchange Place
                                             53 State Street
                                             Boston, MA 02109
                                             T: (617) 345-1000
                                             F: (617) 345-1300

                                             Erin L. Hoffman (pro hac vice)
                                             erin.hoffman@faegrebd.com
                                             Nathan Brennaman (pro hac vice)
                                             nate.brennaman@faegrebd.com
                                             Faegre Baker Daniels LLP
                                             2200 Wells Fargo Center
                                             90 South Seventh Street
                                             Minneapolis, Minnesota 55402-3901
                                             T: 612-766-7000
                                             F: 612-766-1600

                                             STEVEN SANDOE, individual and on behalf of
                                             those similarly situated individuals

                                             By his attorneys:

                                             /s/ Jason R. Campbell____________________
                                             Jason R. Campbell
                                             250 First Avenue, Unit 602
                                             Charlestown, MA 02129
                                             (617) 872-8652
                                             jasonrcampbell@ymail.com




                                                  2
        Case 1:18-cv-11826-NMG Document 119 Filed 10/23/19 Page 3 of 3



                                              Avi R. Kaufman (pro hac vice)
                                              kaufman@kaufmanpa.com
                                              KAUFMAN P.A.
                                              400 NW 26th Street
                                              Miami, Florida 33127
                                              T: (305) 469-5881


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the above document was served upon all parties
registered for electronic notification via the Court’s electronic filing system on October 23, 2019.

                                                     /s/ Troy K. Lieberman
                                                     Troy K. Lieberman




                                                 3
